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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF KANSAS
                                    AT KANSAS CITY

DEANNA OAKES, JINGER BAKER,                           Case No. 2:22-cv-02395-JAR-TJJ
TRICIA WENZL, TAYLOR MCCARTHY,
DESIREE HELTON, AND ANDREA
RODRIGUEZ,
               Plaintiffs,
      v.
27 BISCUITS, LLC, et al.

Defendants.


     JOINT RENEWED MOTION FOR APPROVAL OF SETTLEMENT AGREEMENTS

I.      INTRODUCTION

         Plaintiffs Jinger Baker, Deanna Oakes, Tricia Wenzl, Andrea Rodriguez, Desiree Helton,

and Taylor McCarthy (collectively “Plaintiffs”) and Defendants 27 Biscuits, LLC, and all other

named defendants (collectively “Big Biscuit”) hereby jointly move for the Court’s review and

approval of the settlement and release agreements between Plaintiffs and Big Biscuit, and for

entry of a stipulated order dismissing with prejudice all claims in this action pursuant to Fed. R.

Civ. P. 41(a)(1)(ii), with each party to bear, his, her or its own attorneys’ fees and costs. The

reasons for this Joint Motion are set forth more fully below.

1.      Plaintiffs Deanna Oakes and Jinger Baker originally brought this action pursuant to the
        Fair Labor Standards Act (“FLSA”) claiming Big Biscuit violated the FLSA in the
        operation and utilization of the “tip credit,” thus, failed to pay the Plaintiffs minimum
        wage. Big Biscuit denies their allegations and asserts that it properly claimed a tip credit
        against their wages in compliance with the law.

2.      The remaining four Plaintiffs filed opt-in notices to join this case, and asserted identical
        allegations to that of Oakes and Baker as named Plaintiffs. Big Biscuit similarly denies
        those allegations.

3.      As discovery progressed, the Plaintiffs decided to not pursue the case on a collective
        basis, and have amended the operative complaint accordingly.
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4.    The Parties entered into agreements which provide for settlement and dismissal of all
      claims brought by the Plaintiffs, with prejudice.

5.    The terms of each of the six settlement agreements between the Plaintiffs and Big Biscuit
      are identical, except for the amount of wages and liquidated damages components.

6.    The amount of wages and liquidated damages paid to each plaintiff was determined based
      on the relative number of workweeks that they worked in the relevant time period,
      rounded to clean numbers.

7.    Each “Agreement” has been reduced to writing, and a fully executed copy of each is
      attached as Exhibits A-F.

8.    Pursuant to the terms of these Agreements, Big Biscuit has offered to pay each Plaintiff
      as follows:

      1.     $4,500 to Deanna Oakes, divided into equal portions for wages and liquidated
             damages. Oakes’s employment period spanned 179 workweeks in the maximum
             statutory period.

      2.     $4,500 to Jinger Baker, divided into equal portions for wages and liquidated
             damages. Baker’s employment period spanned 161 workweeks in the maximum
             statutory period.

      3.     $4,500 to Tricia Wenzl, divided into equal portions for wages and liquidated
             damages. Wenzl’s employment period spanned 171 workweeks in the maximum
             statutory period.

      4.     $3,000 to Desiree Helton, divided into equal portions for wages and liquidated
             damages. Helton’s employment period spanned 95 workweeks in the maximum
             statutory period.

      5.     $1,000 to Andrea Rodriguez, divided into equal portions for wages and liquidated
             damages. Rodriguez’s employment period spanned 11 workweeks in the
             maximum statutory period.

      6.     $1,000 to Taylor McCarthy, divided into equal portions for wages and liquidated
             damages. McCarthy’s employment period spanned 43 workweeks in the
             maximum statutory period.




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                                        MEMORANDUM OF LAW

        Principally, the Plaintiffs adopt and incorporate their original Motion for Settlement

Approval (Doc. 54) as if set forth fully herein. The remainder of the arguments and authorities

address the Court’s denial of the parties’ putative settlement without prejudice (Doc. 55).

        I.      Each individual settling has both consented to join the litigation and
                individually reviewed and approved their settlement agreement with the
                assistance of retained and experienced counsel and thus notice is not necessary.

        The six settling party plaintiffs have voluntarily consented to join the litigation. Each of

the party plaintiffs has agreed to resolve the litigation. The six party plaintiffs do not seek collective

action certification, but rather, to resolve each of their claims individually.

        This case can be differentiated from Christeson v. Amazon.com.ksdc, LLC, No. CV 18-

2043-KHV, 2019 WL 354956, at *5 (D. Kan. Jan. 29, 2019). In Christeson, the parties attempted

to secure the court’s approval of stipulated settlement terms prospectively, so that any plaintiff

who would later join the case after receiving notice of the action would be bound by those terms.

Although that process may work in Rule 23 actions, the court correctly noted that it is inappropriate

in the context of FLSA collective actions.

        Here, the parties are not attempting to do what the Chisteson plaintiffs tried. Instead, the

Settlement Agreements (Exhibits A-F) apply exclusively to the plaintiffs who have already

consented to join this case and agreed to the terms of their individual settlements. The parties do

not wish to litigate this action with anyone else, and accordingly, will not attempt to bind any non-

parties to any settlement terms.

        II.     By settling individually, Plaintiffs have abandoned their collective action
                allegations and notice is not necessary.

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        In abandoning their collective action allegations, Plaintiffs are solely part of the litigation

on an individual basis. Accordingly, notice is not necessary, because in this instance, each of the

settling plaintiffs has both individually joined the litigation and made their own determination

about whether to resolve the claims on behalf of themselves individually. And each of the plaintiffs

has individually reviewed and signed settlement agreements which reflect this.

        III.    Under the FLSA, individuals consenting to join the litigation become “party
                plaintiffs,” which is effectively a joinder in the litigation.

        The effect of consenting to join litigation is that each individual voluntarily consents to

become a party plaintiff in the litigation. Procedurally, this effectively joins them in the litigation.

Under Rule 20, multiple Plaintiffs may join an action if: (A) they assert any right to relief jointly,

severally, or in the alternative with respect to or arising out of the same transaction, occurrence, or

series of transactions or occurrences; and (B) any question of law or fact common to all plaintiffs

will arise in the action. Fed. R. Civ. P. 20.

        In the context of the FLSA, no court action or certification order is necessary for any

number of “opt-ins” to consent to join the action and become “party plaintiffs.” See Turner v.

Chipotle Mexican Grill, Inc., 123 F. Supp. 3d 1300, 1306 (D. Colo. 2015).

        “Opt-in” plaintiffs who consent to join the action remain party plaintiffs unless they are

dismissed from the action. Id.

        Here, all plaintiffs (both “named” and “opt-in”) filed consents to join the case.

Accordingly, they remain party plaintiffs to the action, whether or not any “certification” decisions

have been made.




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       In fact, as a matter of precaution, each plaintiff has now formally been added as a Named

Plaintiff to the action via the Third Amended Complaint. And the Third Amended Complaint

makes clear that the action is not being pursued as a collective action.

                                         CONCLUSION

       As previously articulated in Doc. 54, the settlement presented is an immediate, real,

substantial, and fair settlement. Claimants, therefore, respectfully request that the Court approve

the Settlement Agreements as provided in Exhibits A-F in their entirety.


 /s/ Michael Hodgson                                 /s/ Michael L. Blumenthal
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